
PER CURIAM.
Affirmed. See Johnson v. State, 60 So.3d 1045 (Fla. 2011) ; McDonald v. State, 133 So.3d 530 (Fla. 2d DCA 2013) ; Hughes v. State, 22 So.3d 132 (Fla. 2d DCA 2009) ; Brown v. State, 827 So.2d 1054 (Fla. 2d DCA 2002) ; Dorsett v. State, 166 So.3d 898 (Fla. 4th DCA 2015) ; Shivers v. State, 96 So.3d 1039 (Fla. 4th DCA 2012) ; Atwater v. State, 781 So.2d 1149 (Fla. 5th DCA 2001) ; Robinson v. State, 642 So.2d 644 (Fla. 4th DCA 1994).
SILBERMAN, MORRIS, and SALARIO, JJ., Concur.
